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13                          UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,                     No. CR 2:24-cr-00091-ODW
16               Plaintiff,                        GOVERNMENT’S RESPONSE IN
                        v.                         OPPOSITION TO DEFENDANT’S
17                                                 MOTION IN LIMINE TO PRECLUDE
18   ALEXANDER SMIRNOV,                            ANY REFERENCES TO DEFENDANT’S
                 Defendant.                        ALLEGED DISLOYALTY;
19                                                 MEMORANDUM IN SUPPORT
20
                                                   Hearing Date:      November 25, 2024
21                                                 Hearing Time:      10:00 a.m.
22                                                 Location:          Courtroom of the Hon.
                                                                      Otis D. Wright II
23
24
           Plaintiff, the United States of America, by and through its counsel of record, hereby
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     responds in opposition to the defendant’s Motion In Limine to Preclude Any References
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     to Defendant’s Alleged Disloyalty (ECF No. 147). As addressed in this motion and
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     contrary to the defendant’s assertions, the United States is entitled to argue, based on the
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1    charges in this case and their elements as well as the evidence that will be adduced at trial,
2    that during an interview on June 26, 2020, the defendant lied and was deceitful toward the
3    Federal Bureau of Investigation, for whom he served as a confidential human source for
4    more than a decade. Similarly, the government may argue that the defendant, in lying to
5    and deceiving the FBI, betrayed the trust and confidence bestowed upon him by the FBI
6    and on which the FBI relied during its relationship with him. Lastly, the government
7    should be permitted to present the defendant’s statements made during a subsequent
8    interview with federal law enforcement on September 27, 2023, in which he made
9    statements that are evidence that he lied during his FBI interview on June 26, 2020, and
10   made representations about his self-professed foreign contacts, all as alleged in the
11   indictment. Evidence and argument relating to the above-referenced matters and issues
12   are relevant to the charges and conduct at issue in this case, would cause no unfair
13   prejudice, and, thus, are admissible at trial.
14         This motion is based on the attached memorandum of points and authorities, the
15   filings and records in this case, and any further argument as the Court may deem necessary.
16   Dated: November 15, 2024                 Respectfully submitted,
17
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18                                            Special Counsel
19
                                              /s/
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2          On October 31, 2024, the defendant moved in limine to preclude the government
3    from making any references at trial about his “alleged disloyalty” to the United States.
4    ECF No. 147 (“Def. Mot.”). In particular, the defendant argues that the government
5    should not be able to “‘dirty him up’ by seeking to portray him as a ‘Russian Spy’ or some
6    sort of equally derogatory, disloyal type of operative.” Id. at 4. The “derogatory” terms
7    and phrases proffered by the defendant and which he now seeks to preclude at trial—e.g.,
8    “‘dirty him up’” and “‘Russian Spy,’” id., “unpatriotic” and “‘double agent,’” id. at 5,
9    “‘deceitful’” and “‘disloyal,’” id. at 10—are not quotations drawn from any government
10   statements or briefs but are his own concoctions. The defendant’s purported loyalty or
11   patriotism is not relevant to the trial—for all the reasons, for example, set forth in the
12   government’s own motion in limine seeking to preclude the defense from referencing or
13   arguing such at trial, see ECF No. 154. However, the converse, to the extent that is what
14   the defendant is trying to exclude, as it relates to the specific false statement charged in
15   the indictment, is relevant. The charges in this case are that the defendant lied during, and
16   caused the creation of a false federal record as a result of, his interview with his FBI
17   handler on June 26, 2020. See ECF No. 1 (“Indict.”). And in so doing, the government is
18   entitled to argue that, in committing the charged conduct, the defendant was—to borrow
19   the defense’s term—“‘deceitful,’” Def. Mot. at 10, and breached and violated the trust and
20   confidence afforded him by the United States government, vis-a-vis the FBI and his
21   handler. The government also is entitled to introduce at trial, pursuant to Federal Rule of
22   Evidence 801(d)(2), the defendant’s own statements proffered during an interview with
23   federal law enforcement on September 27, 2024, wherein he made statements that are
24   evidence of the falsity of his June 26, 2020 statement and provided a new false narrative
25   that, according to the defendant, derived in part from “four different Russian officials.”
26   Such argument and evidence, as it relates to the particular facts and charges in this case,
27   are permissible under the Federal Rules of Evidence, and the defendant’s motion,
28   therefore, should be denied.
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1    I.    Background
2          As alleged in the indictment, the defendant was a confidential human source with
3    the Federal Bureau of Investigation (“FBI”) for approximately 13 years, including during
4    the time when he committed the criminal conduct at issue. See Indict. ¶¶ 1–6. Specifically,
5    during an interview with his FBI handler on June 26, 2020, the defendant lied about “two
6    purported meetings and two purported phone calls” that he had with Burisma Holdings
7    officials about Public Official 1 and Businessperson 1. Id. ¶ 23. During those meetings,
8    according to the defendant and as set forth in the indictment, Burisma officials “told him
9    that they were paying Businessperson 1 to ‘protect us, through his dad, from all kinds of
10   problems,’ and later that they had specifically paid $5 million each to Public Official 1,
11   when he was in office, and Businessperson 1 so that ‘[Businessperson 1] will take care of
12   all those issues through his dad,’ referring to a criminal investigation being conducted by
13   the then-Ukrainian Prosecutor General into Burisma and to ‘deal with’ the then-Ukrainian
14   Prosecutor General.” Id. ¶ 24. Regarding the phone calls, the defendant stated in part, a
15   Burisma official further recounted the illicit payments that he was “‘pushed to pay’” Public
16   Official 1 and Businessperson 1. Id. Prior to those statements to the FBI, the defendant
17   had expressed bias against Public Official 1 in a series of messages exchanged between
18   himself and his handler. Id. ¶¶ 8–21.
19         The defendant’s statements and representations concerning his meetings and calls
20   with Burisma officials, as conveyed during the June 26, 2020 interview, were lies. As
21   alleged in the indictment and as will be proven at trial, the defendant did not meet with
22   Burisma officials in late 2015 or 2016, as he claimed, see id. ¶¶ 6(d), 27–34, nor did he
23   speak with a Burisma official in 2016/2017 or 2019, as he claimed, see id. ¶¶ 35–37. In
24   addition, the indictment alleges that on September 27, 2023, the defendant met with FBI
25   investigators and repeated some of the false claims that he originally made during his June
26   26, 2020 interview, changed his story as to other claims, and shared a new false narrative
27   concerning Businessperson 1. Id. ¶¶ 45–50. Regarding the new false narrative, the
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1    defendant claimed that he saw video footage of Businessperson 1 visiting a particular hotel
2    in Kiev, Ukraine, and that the defendant learned this story from “a high-level official in a
3    foreign country” and “four different Russian officials.” Id. ¶¶ 51–54.
4            As a result of his lies, the defendant was charged by indictment, on February 14,
5    2024, with one count of making false statements to the FBI, in violation of 18 U.S.C. §
6    1001, and one count of causing the creation a false record, in violation of 18 U.S.C. §
7    1519.
8    II.     The United States May Argue at Trial that the Defendant Was Deceitful and
             Betrayed His Relationship with the FBI, and May Introduce and Argue His
9            Statements Concerning a New False Narrative Provided by Foreign Actors
10           At trial, the government expects to present evidence, inter alia, that (1) the
11   defendant long served as an FBI CHS, and (2) during an interview with his FBI handler
12   on June 26, 2024, the defendant lied about meetings and calls he allegedly had with
13   Burisma officials in which those officials supposedly admitted to bribes involving Public
14   Official 1 and Businessperson 1. In addition, the government intends to present the
15   defendant’s own statements made during his interview with FBI on September 27, 2023,
16   which are evidence of the falsity of his June 26, 2020 statement and promoted a new false
17   narrative after communicating with Russian officials.1 See Indict. ¶¶ 41–55.
18           To convict the defendant at trial of Count One—making false statements to the
19   FBI—the government will need to prove that “the defendant 1) made a statement, 2) that
20   was false, and 3) material, 4) with specific intent, 5) in a matter within the agency’s
21   jurisdiction.” United States v. Fortenberry, 89 F.4th 702, 705 (9th Cir. 2023); 18 U.S.C.
22   § 1001(a). And to convict the defendant at trial of Count Two—causing a false entry in
23   an FBI record—the government will need to prove that “the defendant (1) knowingly
24
     1 The defendant has moved in limine to preclude the government from introducing any of
25   the defendant’s statements that he made during his interview on September 27, 2024. See
     ECF No. 149. The government will address that motion and the admissibility of the
26   defendant’s statements in its opposition to that motion. The government respectfully
     incorporates the arguments set forth in that opposition brief here, insofar as those
27   arguments have any bearing on this matter. Similarly, the government respectfully
     incorporates here its motion in limine to exclude specific instances of conduct, see ECF
28   No. 152, insofar as that motion also is relevant to the present issues as explained above.
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1    committed one of the enumerated acts in the statute, such as [causing the making of a false
2    entry]; (2) [in] ‘any record, document, or tangible object’; (3) with the intent to obstruct
3    an actual or contemplated investigation by the United States of a matter within its
4    jurisdiction.” United States v. Singh, 979 F.3d 697, 715 (9th Cir. 2020); 18 U.S.C. § 1519;
5    see also 18 U.S.C. ¶ 2(b) (causing another to commit criminal act).
6          Given the allegations and evidence in this case, and the offenses charged and their
7    essential elements, the government is entitled to argue that the defendant was deceitful
8    toward the FBI, and breached and violated the FBI’s trust and confidence in him. The
9    defendant’s state of mind deceit is an element of the offenses against him. To be
10   convicted, he must have intentionally lied to the FBI and knowingly caused a false entry
11   to be made in a federal record. See 18 U.S.C. §§ 1001(a), 1519. The government,
12   therefore, may—and, indeed, must—present evidence and argue that the defendant
13   deceived (or attempted to deceive) the FBI when claiming that he met and spoke with
14   Burisma officials who told him about a bribery scheme involving Public Official 1 and
15   Businessperson 1. In other words, evidence and argument relating to the defendant’s
16   deceit and deceitful conduct is relevant to the charges at issue. See Fed. R. Evid. 401.
17   Moreover, evidence and argument relating to the defendant’s deceit is not unfairly
18   prejudicial pursuant to Federal Rule of Evidence 403; rather, it is essential to the
19   government’s case. Proving and arguing the defendant’s deceit is at the heart of the
20   criminal charges in this case.
21         Similarly, the government may argue at trial that the defendant, a longtime FBI
22   CHS, breached and violated the FBI’s trust by intentionally providing false information to
23   the FBI. The fact that the FBI trusted the defendant, and he betrayed that trust, is relevant
24   to the materiality element of Section 1001. See 18 U.S.C. ¶ 1001(a)(1); Fortenberry, 89
25   F.4th at 705. And the defendant’s longstanding CHS relationship and familiarity with the
26   FBI is relevant in showing that he knew and understood that his false statements could
27   influence an actual or contemplated investigation as encompassed in Section 1519. See
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1    18 U.S.C. ¶ 1519; Singh, 979 F.3d at 715. Therefore, the government is entitled to argue
2    that the defendant betrayed his relationship with, and the confidence entrusted in him by,
3    the FBI. Such argument is relevant to the two criminal charges, see Fed. R. Evid. 401,
4    and, given its relevance and centrality to the charges, will not unfairly prejudice the
5    defendant, see Fed. R. Evid. 403.
6          Further, insofar as the defendant’s motion seeks to preclude the government from
7    referencing or admitting into evidence his contacts with foreign actors including Russian
8    officials, his motion should be denied. Again, the indictment alleges that the defendant
9    shared a new false narrative with the FBI during his interview on September 27, 2024.
10   See Indict. ¶¶ 51–54. The defendant, by his own admission, learned the story from “a
11   high-level official in a foreign country” and “four different Russian officials.” Id. ¶ 52.
12   During that same interview with the FBI, the defendant repeated some of the false claims
13   that he originally made during his June 26, 2020 interview, which are the subject of the
14   charged offenses here, and changed his story as to other claims. See id. ¶¶ 45–50.
15   Consequently, the defendant’s statements concerning this new false narrative and the
16   alleged source of that narrative are inextricably intertwined with his continued, ongoing
17   false statements to the FBI related to Burisma; are relevant to the conduct charged in this
18   case; and should be admissible at trial. There is nothing unfairly prejudicial in admitting
19   the defendant’s own statements about the new false narrative when they concern the
20   same person as the false statements for which the defendant is charged (i.e.,
21   Businessperson 1), relate to foreign affairs just as the charged false statements do, and,
22   like the charged statements, are demonstrably false. The government, therefore, should
23   be able to present the jury with the defendant’s own admitted contacts with foreign
24   actors, including Russian officials, as it relates to the specific conduct alleged and
25   charged in the indictment. The government does not intend to argue at trial, based on his
26   September 27, 2023 interview, that the defendant is a “Russian Spy,” a “double agent,”
27   or “unpatriotic,” thereby further ameliorating any risk of unfair prejudice. Def. Mot. at
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1    4–5. The government will simply introduce the defendant’s statements as he presented
2    them to federal law enforcement and as they are alleged in the indictment.
3          The defendant proffers no legal authority justifying the exclusion of the above-
4    referenced arguments or evidence. And the cases cited by the defendant are inapposite to
5    the present matter. See, e.g., United States v. Lawrence, 189 F.3d 838 (9th Cir. 1999)
6    (concerning admissibility of evidence about defendant’s “unconventional” marriage in
7    unrelated mail and bankruptcy fraud case); United States v. Fawbush, 634 F.3d 420 (8th
8    Cir. 2011) (admissibility of adult daughters’ testimony about defendant’s prior sexual
9    abuse in case involving sexual abuse of other minor children approximately eight or more
10   years later, decided primarily on Rule 404(b) grounds); United States v. Schulte, S-2 17
11   Cr. 548, 172020 U.S. Dist. LEXIS 9818 (S.D.N.Y. Jan. 17, 2020) (admissibility of
12   defendant’s post-arrest statements regarding his anger toward government for arrest and
13   indictment and racist remarks in classified information case). What is relevant and
14   admissible under the Federal Rules of Evidence depends largely on the specific facts,
15   charges, and circumstances in each particular case, and here it is clear that the defendant’s
16   deceit, betrayal, and admissions are relevant and admissible as they relate to the charges
17   of making false statements to the FBI and causing false entries in an FBI record.
18         With all this in mind, it bears highlighting that a critical distinction, inter alia,
19   between the government’s motion in limine to exclude irrelevant factual issues (including
20   any argument or references to the defendant’s general patriotism and loyalty to the United
21   States), see ECF No. 154, and the government’s opposition to the defendant’s present
22   motion is that any arguments or references that the government will make at trial about
23   the defendant’s deceit and “disloyalty” toward the FBI or about his foreign contacts will
24   be specific to only the criminal conduct charged in the indictment. In other words, should
25   the government argue that the defendant deceived the FBI and betrayed its trust and
26   reliance upon him, those arguments will be tethered to the false statement made by the
27   defendant to the FBI on June 26, 2020, as charged in the indictment. Similarly, should the
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1    government present evidence that the defendant had contacts with foreign actors, that
2    evidence and any related arguments will be tethered to the indictment’s averments
3    (specifically those concerning the September 27, 2023 interview). The government will
4    not do as the defendant proposes to do impermissibly—present evidence (or argument) of
5    specific instances of conduct that are entirely unrelated, temporarily or substantively, from
6    the charged crimes and conduct. See Def. Mot. at 4 (noting that defendant seeks to present
7    at trial “specific instances of [defendant] providing helpful information, with reproach-
8    free conduct”); see also ECF No. 152 (government’s motion in limine to exclude specific
9    instances of conduct).3 But the government is entitled to argue the evidence and its
10   significance to the jury with vigor and incisiveness. See, e.g., United States v. Baker, 10
11   F.3d 1374, 1415 (9th Cir. 1993) (“[C]ourts must allow the prosecution to strike ‘hard
12   blows’ based on the evidence presented and all reasonable inferences therefrom.”
13   (citations omitted)); United States v. Boyd, 640 F.3d 657, 669 (6th Cir. 2011) (affording
14   “wide latitude to a prosecutor during closing argument” and noting that “[t]he prosecution
15   is not required to present closing arguments that are devoid of all passion” (citations and
16   internal quotation marks omitted)); United States v. Johnson, 89 F.4th 997, 1002 (7th Cir.
17   2024) (reversing district court’s exclusion of government evidence under Rule 403 where
18   there is “general presumption that the prosecution is entitled to tell ‘a colorful story with
19   descriptive richness’ and ‘evidentiary depth’” (quoting Old Chief v. United States, 519
20   U.S. 172, 187–90 (1997))); United States v. Hobbs, 2024 U.S. App. LEXIS 27066, at *4
21   (10th Cir. Oct. 25, 2024) (in rejecting defendant’s Rule 403 argument against
22
23   3  According to the defendant, another related basis for excluding references to his
24   “disloyalty” at trial is—in the defense’s estimation—evidence that demonstrates the
     defendant’s “undivided, years-long loyalty to the United States.” Def. Mot. at 4–5. Thus,
25   the defendant argues, such references to his “disloyalty” “would be false” and precluded
26   by Federal Rule of Evidence 402. Id. at 7. But, of course, whether the defendant was
     honest and truthful to the FBI at the time and about the matter for which he is charged is
27   a matter for the jury to decide. And that issue cannot be addressed or resolved by specific
28   instances of past conduct. See Fed. R. Evid. 404(a)(1), 405(b); ECF Nos. 152.
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1    government’s trial evidence, “we think it is the government’s call on how to try the case
2    and address potential inferences from the testimony (citing Old Chief, 519 U.S. at 186–
3    87)); United States v. Gregory, 54 F.4th 1183, 1210–11 (10th Cir. 2022) (“Arguments may
4    be forceful, colorful, or dramatic,” so long as they are “supported by the facts and
5    circumstances properly in evidence[.]”).
6           Therein lies the key difference between what is admissible under the Federal Rules
7    of Evidence and what is not: the government may present evidence and argue that which
8    is central to the charges and criminal conduct at issue—e.g., the defendant’s lies, deceit,
9    and betrayal of his trusted relationship with the FBI as it is specifically charged and related
10   to the elements of the two criminal counts in this case. But the defendant cannot simply
11   present generalized evidence or argument concerning his supposed good deeds or conduct
12   over the years in a generalized attempt to disprove the specific lies and misconduct for
13   which he is charged or to invite jury nullification. See Fed. R. Evid. 404(a)(1) (“Evidence
14   of a person’s character or character trait is not admissible to prove that on a particular
15   occasion the person acted in accordance with the character or trait.”); see also ECF No.
16   152 (government’s motion in limine to exclude specific instances of conduct); ECF No.
17   154 at 7–8 (government’s motion in limine to exclude argument or evidence that the
18   defendant was “loyal” to or “servant of the United States”); cf. United States v. Covington,
19   No. 3:23-cr-68, 2023 U.S. Dist. LEXIS 218458, at *8 (E.D. Va. Dec. 7, 2023) (granting
20   government’s motion to exclude evidence of specific instances of conduct) (“[E]ven if the
21   jurors were presented with evidence—and believed—that the Defendants . . . possessed
22   general truthful or honest character, the jurors would be free to find that the Defendants
23   nevertheless made the alleged false statements or false report in the instances in
24   question.”).
25   III.   Conclusion
26          For the reasons set forth above, the Court should deny the defendant’s Motion In
27   Limine to Preclude Any References to Defendant’s Alleged Disloyalty.
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